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BRlAN D. CHASE, STATE BAR NO. 164109 Sh@m' R Ca
4 H. GAle LONG STATE BAR NO. 204034 ByW;ce,/C‘e*
5 Attomeys for Plaintiff ROSEMBERG PAVON ”"ya olsen Depury
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8 SUPERIOR COURT OF CALIFORNIA
9 COUNTY OF LOS ANGELES, CENTRAL DISTRICT
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11 ROSEMBERG PAVON, ' CASE No 6 37? 3 4
12 Plaintiff, AsSigned for All Purposes t0.‘
13 Judge
vs. , _ Department m -u c m r~ 1-
M P££§ §m
BAYERISCHE MOTOREN WERKE AG COMPLAINT FOR DAMAGES HIKF_BE 75 `Fi
15 (BMW); BMW 0F NORTH AMERICA, BODILY INJURY Al~§)§§l\§H_ _3 3 § §§
LLC; CONTINENTAL AG; DAMAGES: ___ ;~g§}”£ " '3‘ § -» -
16 CONTINENTAL AUTOMOTIVE " “~ §§ jj ,__ m m
SYSTEMS, INC.; CONTI TEMIC . 1. Strict Product Liability “;__., §§ §§ g'{
17 MICROELECTRONIC GmbH; ROBERT 2.Neg1igem Product Liabilicy g .;:; g; §§
BOSCH GmbH (BOSCH); ROBERT 3. Negligence &`;~ `.'.t 513 24
18 BOSCH LLC; ZF-TRW AUTOMOTIVE, ‘:' "` §§ ‘*
INC.; ZF FRIEDERICHSHAFEN AG; AND DEMAND FOR JURY TRIAL '.°ri
19 TRW OCCUPANT RESTRAINT *._`I '? "1
SYSTEMS GmbH; AUTOLIV ASP, INC.; _ '7_~_. rig
20 AUTOLIV SAFETY TECHNOLOGY, Filed Date; i-’S 3 35 .‘-`_=”. _ ;,
INC.; AUTOLIV GmbH; DOE . § g § ;; § “
21 CALIFORNIA AUTO DEALERI; DOE " " ` L`
CALIFORNIA AUTO DEALER 2; DOE
22 CALIFORNIA REPAIR FACILITY; and
-DOES l to 100, inclusive, .{, _U ,_,
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Defendants. ['_‘, § m § g ;..
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§ 26 Defendants as follows: § iff § ;§
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COMPLAINT FOR DAMAGES: DEMAND FOR JURY TRIAL

 

 

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ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

l. On July 6, 2015, at approximately 2100 p.m., on Anaheim Street in the city of
Wilmington, County of Los Angeles, State of Califomia, plaintiff ROSEMBERG PAVON was
driving a 1999 BMW 328i, vehicle identification no. WBAAM5336XKG05716, California
license plate no. 5MYW878 (hereinafter referred to as the “SUBJECT VEHICLE”). Plaintiff
had brought the SUBJECT VEHICLE to a stop at_ an intersection When the light for his
direction of travel turned green, he proceeded forward from his stop. Suddenly, without known
provocation or incident other than the acceleration to move the SUBJECT VEHICLE forward,
the side air bags in the SUBJECT VEHICLE deployed, causing Plaintiff the injuries which are
the subject matter of this action. This series of events ending with the inadvertent deployment
of the side air bags and Plaintiffs injuries is hereinafter referred to as the “SUBJECT
INCIDENT”.

2. Plaintiff ROSEMBERG PAVON is, and at all relevant times was, a resident of

the City of Long Beach, County of Los Angeles, and State of Califomia.

3. At all times relevant, Defendant BAYERISCHE MOTOREN WERKE_ AG
(hereinafter referred to as “BMW”) was and is a foreign limited liability company, With its
principal place of business in Bavaria, Germany. At all times relevant, BMW was conducting
business with the intent for the international distribution and sale of its products, including the
SUBJECT VEHICLE, into the United States and the State of California.

4. Defendant BMW OF NORTH AMERICA, LLC is a limited liability company
business entity of unknown nature, organized and existing under the laws of the State of
Delaware, with its primary place of business in the State of New Jersey, and, at all times
relevant, was present in and was qualified to and was doing business in the State of Califomia.

5. Plaintiff has information and belief and, based thereon, alleges that Defendant
CONTINENTAL AG is a corporation organized and existing under the laws of Germany, and,
at all times relevant, was conducting business with the intent for the international distribution
and sale of its products, including one or more of the component parts and systems which it

designed, tested, manufactured, and sold for intended inclusion in the SUBJECT VEHICLE,

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COMPLAINT FOR DAMAGES: DEMAND FOR JURY TRIAL

 

 

 

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with the understanding and intention that its products would be distributed into the United
States and the State of Califomia. ` 4

6. Plaintiff has information and belief and, based thereon, alleges that Defendant
CONTINENTAL AUTOMOTIVE SYSTEMS, INC. is a corporation organized and existing
under the laws of the State of Delaware, and with its principal place of business in the State of
South Carolina. At all times relevant, Defendant was present in and was qualified to and was
doing business in the State of Califomia.

7. Plaintiff has information and belief and, based thereon, alleges that Defendant
CONTI TEMlC MICROELECTRONIC GmbH is a private limited liability company
organized and existing under the laws of Germany, and, at all times relevant, was conducting
business with the intent for the international distribution and sale of its products, including one
or more of the side airbag control modules, central and satellite sensors, component hardware
and software, and other component parts and systems which it designed, tested, manufactured,
and sold for intended inclusion in the SUBJECT VEHICLE, with the understanding and
intention that its products would be distributed into the United States and the State of
Califomia.

8. At all times relevant, Defendant ROBERT BOSCH GmbH (hereinafter referred
to as “BOSCH”) was and is a foreign private limited liability company, with its principal place
of business in Germany. At all times relevant, Defendant was conducting business with the intent
for the international distribution and sale of its products, including one or more of the component
parts or systems, including hardware, sensors, control modules and other component systems
and parts designed and intended for inclusion in the SUBJECT VEHICLE, with the
understanding and intention that its products would be distributed into the United States and the
State of California to the United States and the State of Califomia.

9. Defendant ROBERT BOSCH LLC is a limited liability company organized and
existing under the laws of the under the laws of the State of Delaware, and With its principal
place of business in the State of Illinois. At all times relevant, Defendant was and, at all times

relevant, was present in and was qualified to and was doing business in the State of Califomia.

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COMPLAINT FOR lDAMAGES: DEMAND FOR JURY TRIAL

 

 

 

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10. Plaintiff has information and belief and, based thereon, alleges that Defendant
ZF FRIEDERICHSHAFEN AG is a corporation organized and existing under the laws of
Germany, and, at all times relevant, was conducting business with the intent for the
international distribution and sale of its products, including one or more of the component
systems and parts specifically designed and intended for inclusion in the SUBJECT VEHICLE,
with the understanding and intention that its products would be distributed into the United
States and the State of Califomia into the United States and the State of Califomia.

ll. Plaintiff has information and belief and, based thereon, alleges that Defendant
ZF-TRW AUTOMOTIVE, INC. is a corporation organized and existing under the laws of the
State of Delaware, with its principal place of business in the State of Michigan. At all times
relevant, Defendant was present in, qualified, and doing business in the State of Califomia,
including the pursuit of its business of the international distribution and sale of the products
which it designed, manufactured, sold, and distributed, including one or more of the
component systems and parts included in the SUBJECT VEHICLE, with the understanding
and intention that its products would be distributed into the United States and the State of
Califomia into the United States and the State of Califomia.

12. Plaintiff has information and belief and, based thereon, alleges that Defendant
TRW OCCUPANT RESTRAINT SYSTEMS GmbH is a private limited liability company
organized and existing under the laws of Germany, and, at all times relevant, Was conducting
business with the intent of the international distribution and sale of the products which it
designed, manufactured, sold, and distributed, including the Head Protection System and other
component systems and parts designed for and intended for inclusion in the SUBJECT
VEHICLE, with the understanding and intention that its products would be distributed into the
United States and the State of Califomia.

13. Defendant AUTOLIV ASP, INC. is a business entity of unknown nature,
organized and existing under the laws of the State of Indiana with its principal place of
business in Utah. At all times relevant, Defendant was present in and was qualified to and was

doing business in the State of Califomia.

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COMPLAINT FOR l[)AMAGES: DEMAND FOR JURY TRIAL

 

 

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l4. Plaintiff has information and belief and, based thereon, alleges that Defendant
AUTOLIV SAFETY TECHNOLOGY, INC. is a corporation organized and existing under the
laws of the State of Delaware`, with its principal place of business in the State of Michigan. At
all times relevant, Defendant was present in, and was qualified to and was doing business in
the State of Califomia. 4 n

l 15. Plaintiff has information and belief and, based thereon, alleges that Defendant
AUTOLIV GmbH is a private limited liability company organized and existing under the laws
of Germany, and, at all times relevant, Defendant was acting in pursuit of its business of the
international distribution and sale of the products which it designed, manufactured, sold, and
distributed, including one or more of the component systems and parts included in the
SUBJECT VEHICLE, with the understanding and intention that its products would be
distributed into the United States and the State of Califomia into the United States and the
State of Califomia.

16. Plaintiff is ignorant of the true names and capacities of the Defendants sued
herein as DOE CALIFORNIA AUTO DEALER l, DOE CALIFORNIA AUTO DEALER 2,
DOE CALIFORNIA REPAIR FACILITY, and DOES l to 100, inclusive, and therefore sue
these Defendants by such fictitious names. Plaintiff will amend this Complaint to allege the
true names and capacities when that information is ascertained Plaintiff is informed and
believes and, based on that information and belief, alleges that each such fictitiously named
Defendant is legally responsible in some manner for the occurrences alleged herein, and that
the damages suffered as a result of the injuries suffered by Plaintiff were proximately caused
by each such Defendant's actions.

17. Plaintiff is informed and believes and, based on this information and belief,
alleges that Defendants, and each of them, were the agents, servants and employees of their
Co-Defendants, and in doing the things herein alleged were acting within the course, scope,
purpose, and authority of such agency and employment with the full knowledge, permission
and consent of each of their co-Defendants.

18. At all relevant times, each DOE Defendant was, and is, engaged in the business

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COMPLAINT FOR DAMAGES: DEMAND FOR JURY TRIAL

 

 

 

 

 

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of manufacturing, fabricating, designing, compounding, assembling, distributing, selling,
inspecting, servicing, repairing, merchandising, marketing, warranting, selling, retailing, and
advertising the SUBJECT VEHICLE, including but not limited to the entire SUBJECT
VEHICLE and its component parts and systems.

l9. At the time and place of the SUBJECT INCIDENT, the SUBJECT VEHICLE
was in a dangerous and defective condition because of a defect caused by the design,
manufacture, testing, engineering, assembly, inspection, distribution, sale, repair, renovation,
or other work regarding orwith the SUBJECT VEHICLE by the Defendants, and each of them.

20. As a legal result of the SUBJECT INCIDENT, the dangerous and defective
nature of the SUBJECT PRODUCT, and/or the conduct of the Defendants, and each of them,
Plaintiff was injured in his health, strength, and activities, and sustained serious personal
injury, and as a legal result of those injuries, incurred the expense of medical, nursing, and
other treatm‘ent and care for those injuries and conditions, has lost past wages and the ability to
earn from employment both past and future, and has suffered other economic and special
damages in an amount which exceeds the minimum jurisdictional amount of this court,
according to proof at trial.

21. As a legal result of the SUBJECT INCIDENT, the dangerous and defective
nature of the SUBJECT PRODUCT, and/or the conduct of the Defendants, and each of them,
Plaintiff was injured in his health, strength, and activities, and sustained injury to his body and
shock and injury to his nerves and nervous system, all of which have caused and continue to
cause him great mental, physical and emotional pain and suffering, disfigurement, permanent
partial and total disability, physical impairment, loss of enjoyment of life, and other general
damages. Plaintiff is informed and believes, and thereupon alleges, that his injuries will result
in permanent injury and disability all to his general “non~economic” damage in an amount not
presently ascertained, but in excess of the minimum jurisdictional amount of the “unlimited
jurisdiction” division of this court.

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COMPLAINT FOR DAMAGES: DEMAND FOR JURY TRIAL

 

 

 

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FIRST CAUSE OF ACTION
(Strict Products Liability against Defendants BAYERISCHE MOTOREN WERKE AG;
BMW OF NORTH AMERICA, LLC; CONTINENTAL AG; CONTINENTAL t
AUTOMOTIVE SYSTEMS, INC.; CONTI TEMIC MICROELECTRONIC GmbH;
ROBERT BOSCH GmbH; ROBER\T BOSCH LLC; ZF-TRW AUTOMOTIVE, INC.;
ZF FRIEDERICHSHAFEN AG; TRW OCCUPAN'll` RESTRAINT SYSTEMS GmbH;
AUTOLIV ASP, INC.; AUTOLIV SAFETY TECHNOLOGY, INC.; AUTOLIV GmbH;
DOE CALIFORNIA AUTO DEALER 1; and DOES 1 to 50, inclusive)

22. Plaintiffs re-allege and incorporate by reference each of paragraphs l through 21
above, as though fully set forth herein. ‘

23t Defendants, and each of them, and each of them, designed, tested, engineered,
manufactured, assembled, distributed, advertised, marketed, and/or sold the SUBJECT
VEHICLE.

24. Defendants, and each of them, knew that the SUBJECT VEHICLE was to be
purchased and used without inspection for defects by the users of that vehicle, including but not
limited to the DECEDENT. t `

25. The SUBJECT VEHICLE and all its component parts and/or aftermarket parts
and/or installation guides mentioned were manufactured, designed, assembled, packaged, tested,
fabricated, analyzed, inspected, merchandised, marketed, distributed, labeled, advertised,
promoted, sold, supplied, leased, rented, repaired, modified, aftermarket modified, adjusted,
selected, and used with inherent vices and defects both in design and manufacturing and by
failure to warn (hereinafter the “SUBJECT DEFECTS”), which made it dangerous, hazardous
and unsafe both for its intended use or for reasonably foreseeable misuses.

26. Defendants, and each of them, designed, tested, assembled, manufactured,
supplied, marketed, promoted, sold,4 distributed, and/or put into the stream of commerce the
SUBJECT VEHICLE, and its component systems and parts, in a defective and unreasonably
dangerous condition. l

27. The manufacture and/or design of the SUBJECT VEHICLE is defective for the

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COMPLAINT FOR lDAMAGES: DEMAND FOR JURY TRIAL

 

 

 

 

 

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following reasons which allowed and promoted and caused the side airbag system’s inadvertent

y release and deployment in the SUBJECT VEHICLE, including but not limited to the door-

mounted thorax airbags, the Head Protection System, the central electronic safing sensor and
diagnostic system, electronic control units, left and right satellite impact sensors, central and
distributed software, and associated wiring. This defect included but is not limited to the
following:

(l) Inadequate central and satellite sensor design, intercommunication, numbers and
locations: Defendants used fewer sensors than necessary, cheap sensors, inadequately designed
sensors, and/or sensors designed for other uses, which led to defects that caused or contributed
to the state in which the system sensed the condition to deploy the side airbags when that
deployment should not have been required or needed. Defendants failed to adequately test the
numbers, calibration, and location of sensors in foreseeable crash scenarios, which also resulted
in the dangerously defective sensors systems;

(2) A system unduly sensitive to non-crash movements with an insignificant vertical
or longitudinal component, which would cause the side airbag and Head Protective System to
activate;

(3) Defectively designed sensing and diagnostic module (MRS), which improperly
signaled the deployment of the side air bags in the SUBJECT INCIDENT; '

(4) Defectively designed deployment software and hardware, including the ignition
systems, bag expansion systems, and their component parts; and

(5) Inferior Algorithms: The software sub-routines used to interpret the combination
of position, movement, acceleration, ~deceleration, steering inputs, and impact sensors, were
inadequate algorithms and caused the MRS and other control modules to deploy the side air bags
at a time and under conditions which were inadvertent or not meeting the design specifications,
such as the SUBJECT INCIDENT.

28. Defendants, and each of them, had pre-sale knowledge of these dangerous
conditions and failed to warn the Plaintiff, and the owners and operators and other users of any

such BMW 328i like the SUBJECT VEHICLE.

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COMPLAINT FOR lDAMAGES: DEMAND FOR JURY TRIAL

 

 

 

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29. Defendants, and each of them, failed to make necessary modifications to the
design of the SUBJECT VEHICLE and its component systems and parts after receiving notice
that the design of the SUBJECT VEHICLE was defective and unreasonably dangerous.

30. Defendants, and each of them, failed to adequately warn and instruct the Plaintiff
and other users of the SUBJECT VEHICLE and similar vehicles regarding the hazards, risks,
and dangers of the SUBJECT VEHICLE at any time before the SUBJECT INCIDENT.

31. Defendants, and each of them, failed to adequately and fully recall and repair any
and all vehicles with the aforementioned air-bag system that would inadvertently deploy.

32. The SUBJECT VEHICLE and each of its component parts and/or aftermarket
parts and/or installation guides were unsafe for their intended use and reasonably foreseeable
misuses by reason of defects in its design and/or manufacturing and/or failure to warn by
Defendants, and each of them, in that when said SUBJECT VEHICLE and each of its component
parts and/or aftermarket parts and/or installation guides were used by Plaintiff at the time of the
SUBJECT INCIDENT, as intended or in a reasonable foreseeable manner, said SUBJECT
VEHICLE, during reasonably foreseeable driving maneuvers, was dangerous in failing to
provide adequate protection to any driver of the vehicle, unprotected by a properly functioning
seat-belt restraint system and a properly functioning airbag. l

33. Defendants, and each of them, misrepresented the purported safety of the
SUBJECT VEHICLE when they knew or reasonably should have known of the SUBJECT
DEFECTS, with the intent to induce consumers to buy and use the SUBJECT VEHICLE.

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COMPLAINT FOR lDAMAGES: DEMAND FOR JURY TRIAL

 

 

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l SECOND CAUSE OlF ACTION
(Negligent Products Liability against Defendants BAYERISCHE MOTOREN
WERKE AG; BMW OF NORTH AMERICA, LLC; CONTINENTAL AG;

CONTINENTAL AUTOMOTIVE SYSTEMS, INC.; CONTI TEMIC

MICROELECTRONIC GmbH; ROBERT BOSCH GmbH; ROBERT BOSCH LLC;
ZF-TRW AUTOMOTIVE, INC.; ZF FRIEDERICHSHAFEN AG; TRW OCCUPANT
RESTRAINT SYSTEMS GmbH; AUTOLIV ASP, INC.; AUTOLIV SAFETY
TECHNOLOGY, INC.; AUTOLIV GmbH; DOE CALIFORNIA AUTO DEALER]; and
DOES 1 to 50, inclusive)

34. l’laintiffs incorporate, repeats, and re-allege each and every allegation in
paragraphs 1 through 21 above and incorporate the same by reference as though set forth herein,

35. At all times mentioned, Defendants, and each of them, had a duty to properly
manufacture, design, assemble, package, test, fabricate, analyze, inspect, merchandise, market,
distribute, label, advertise, promote, sell, provide adequate warnings about, supply, lease, rent,
warn, select, inspect, and repair the SUBJECT VEHICLE and each of its component parts and/or
aftermarket parts and/or installation guides.

36. At all times mentioned, Defendants, and each of them knew or, in exercising
reasonable care, should have known that the SUBJECT VEHICLE was not properly
manufactured, designed, assembled, packaged, tested, fabricated, analyzed, inspected,
merchandised, marketed, distributed, labeled, advertised, promoted, or sold, and that it provided
inadequate warnings and/or no warnings for the use and purpose for which it was intended
because it was likely to injure severely the person(s) who used said vehicle.

37. Defendants, and each of them, negligently and carelessly manufactured,
designed, assembled, packaged, tested, fabricated, analyzed, inspected, merchandised, marketed,
modified, distributed, labeled, advertised, promoted, sold, supplied, leased, rented, repaired,
serviced, maintained, selected, and provided inadequate warnings for the use and purpose for
which the SUBJECT VEHICLE was intended because it was likely to severely injure the

person(s) who used said vehicle for the purpose for which it was intended and driven as

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COMPLAINT FOR DAMAGES: DEMAND FOR JURY TRIAL

 

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recommended or during a misuse by a member of the public, including the driver of the
SUBJECT VEHICLE, reasonably_foreseeable by Defendants, and each of them. ln particular,
said SUBJECT VEHICLE, during a reasonably foreseeable accident sequence, including but not
limited to a frontal impact, was dangerous and defective because such frontal impact was likely
to cause increased and substantial injuries to the driver, including but not limited to fatal injuries.

38. As a direct and proximate result'of the negligence, carelessness, and unlawful
conduct of Defendants, and each of them, the defects inherent in the vehicle, including the above-
stated SUBJECT DEFECTS, caused Plaintiff’s serious bodily injuries, resulting in Plaintiff" s
special and general damages as set forth above and in a sum over the minimum subject-matter
jurisdiction of this Superior Court according to proof at trial.

39. At the time of the design, manufacture, assembly, distribution, and sale of the
SUBJECT VEHICLE, Defendants, and each of them, knew or should have known about the
likelihood and severity of potential harm from the SUBJECT VEHICLE and the comparatively
small burden of taking safety measures to reduce or avoid this harm.

40. The SUBJECT DEFECTS in the SUBJECT VEHICLE were compounded by the
failure of Defendants, and each of them, to provide adequate instruction or warning of potential
safety hazards created by these defects, including but not limited to any occupant’s increased
risk of injury during a frontal-impact collision.

41. The SUBJECT VEHICLE was also defective because it did not perform as safely
as an ordinary consumer would have expected it to perform when used or misused in an intended
or reasonably foreseeable way, including but not limited to when it was involved in a frontal
impact with another motor vehicle.

42. The SUBJECT VEHICLE, because of the SUBJECT DEFECTS, had potential
risks known to or knowable by Defendants, and each of them, inclusive, in light of the knowledge
generally accepted in the automotive industry at the time of the manufacture, distribution, and
sale of the SUBJECT VEHICLE.

43. The potential risks created by the SUBJECT DEFECTS presented a substantial
danger when the SUBJECT VEHICLE was used or misused in an intended or reasonably

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COMPLAINT FOR DAMAGES: DEMAND FOR JURY TRIAL

 

 

 

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foreseeable way, including but not limited to when the vehicle unintentionally comes into contact
with an improperly and slowly driven vehicle unlawfully failing to yield the right of way.
Ordinary consumers would not have recognized the potential risks created by the SUBJECT
DEFECTS. Defendants, and each of them, failed to adequately warn or instruct of the potential
risks created by the SUBJECT DEFECTS. The lack of sufficient instructions or warnings was a
substantial factor in causing DECEDENT’s fatal injuries.

44. As a direct and legal result of the negligence, carelessness, and unlawful conduct
of Defendants, and each of them, and the defects inherent in the SUBJECT VEHICLE, these
defendants legally caused Plaintiff’ s serious personal injuries in the SUBJECT INCIDENT, in
turn legally resulting in Plaintiff’s damages as set forth herein.

THIRD CAUSE OF ACTION
(Negligence in the Compliance with Recall against All Defendants)

45. Plaintiffs incorporate by reference as though fully set forth herein, paragraphs 1
through 21, inclusive. ` f

46. At several times over the seventeen years since the manufacture, distribution, and
sale of the SUBJECT VEHICLE, Defendants, and each of them, were involved in the design,
implementation, engineering, manufacturing, inspection, installation, repair, and all other steps
necessary to competently comply with the mandated RECALL of the Vehicles which shared the
side air bag system that is found in the SUBJECT VEHICLE and the repair and replacement of
the SUBJECT DEFECTS so that the vehicles would be safe for the user of the vehicles, including
the SUBJECT VEHICLE. Because of that Recall and their knowledge of the SUBJECT
DEFECT, Defendants, and each of them, had the duty to perform their part of this process with
the standard of care necessary to protect the users of the vehicles.

47. At all times before the date of the SUBJECT INCIDENT, Defendants and each
of them negligently, carelessly, recklessly, willfully, wantonly, and tortiously failed, refused,
and negligently performed the tasks necessary to design, implement,‘and perform the repairs
necessary to meet the demand of the Recall to negate the effects of the SUBJECT DEFECTS.

48. As a legal result of the negligence of the Defendants, and each of them, and the

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COMPLAINT FOR DAMAGES: DEMAND FOR JURY TRIAL

 

 

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unrepaired and unfixed condition of the known SUBJECT DEFECT in the SUBJECT
VEHICLE, the SUBJECT INCIDENT occurred and Plaintiff suffered serious and severe bodily
injuries, which have caused and continue to cause Plaintiffs great mental and emotional pain
and suffering, loss of enjoyment of life, and other special and general damages as alleged herein.
ALLEGATIONS IN SUPPORT OF CLAIM FOR
EXEMPLARY AND PUNITIVE DAMAGES AGAINST ALL DEFENDANTS

49. l’laintiff incorporates by reference, as though fully set forth herein, paragraphs 1
through 48, above.

50. Plaintiff is further informed and believes and alleges thereon that Defendants, ;nd
each of them, intentionally and/or willfully engaged in conduct which, with respect to the defects
described herein, Plaintiff alleges were the legal cause of his losses, damages, injuries and harm,
exposed Plaintiff and other users of the SUBJECT VEHICLE to serious potential danger known
to the defendants in order to advance the defendants' pecuniary interests and thus acted with a
conscious disregard for the safety of the Plaintiff and other users of the SUBJECT VEHICLE,
warranting an award of exemplary damages against defendants, pursuant to Civil Code §
3294(c)(l), and the rule enunciated in Ford Motor Co. v. Home 1ns.15 C0. (1981) 116 Cal.
App.3d 374, 381-382, PPG Industries, Inc. v. Transamerica Ins. Co. 16 (1999) 20 Cal.4th 310,
and Dawes v. Superior Court (Mara'z'an) (1980) 111 Cal.App.3d 82, 89. The facts supporting the
defendants' intentional and/or willful conduct which exposed Plaintiff and other users of the
SUBJECT VEHICLE to serious potential danger known to the defendants in order to advance
the defendants' pecuniary interests, are on information and belie£, as follows.

51. Defendants manufactured and designed SUBJECT VEHICLE's side air bag
systems and parts in a defective and grossly and severely negligent manner. Before the
production of most of the Model Year 1999 vehicles, including the SUBJECT VEHICLE,
Defendant BAYERISCHE MOTOREN WERKE AG and BMW OF NORTH AMERICA, LLC,
and the manufacturers of the component parts and systems of the side air bag system, knew and
had notice of the defects in the side air bag system and its component parts that had been

incorporated into the design and manufacture of the 3-Series vehicles as a result of pre-

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COMPLAINT FOR DAMAGES: DEMAND FOR JURY TRIAL

 

 

 

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production testing and driving experience Despite this knowledge, these defendants proceeding
with manufacturing the vehicles including the defective system and components rather than
delaying the production of these vehicles so that they could find and implement changes which
corrected the defects.

52. Defendants, and each of them, failed to timely notify consumers and regulatory
bodies about the existence and extent of the defect. When they did give the statutorily required
notification of the defect, and the contribution of that defect to accidents and injuries and the
foreseeable heightened risk of accidents and injuries, they did not reveal all that they knew. As
a result, an incomplete recall of affected was issued - not covering all of the affected vehicles
and not providing for a complete fix of the defect.

53. At the time of the recall, Defendants, and each of them, implemented a repair of
the defect which was inadequate, incomplete, and insufficient to correct the effects of the
defective system and parts. The proposed repair was approved only because it gave the
appearance of having addressed the defects in the side airbag systems, but did not competently
and completely remove or correct the defect because Defendants wanted to save themselves
money. They chose to increase the risk of injury to users of the 3-Series vehicles, to make
enhanced injury probable in case of accidents, rather than spend the money which would have
allowed them to implement a full, complete, proper, and competent repair of the defect.

54. Over time, Defendants, and each of them, knew about the ongoing nature of the
defect and the inadequacy of the repairs that they had implemented, but they failed to further
notify owners and users of the continuing nature of the defect, failed and refused to notify
regulatory bodies about these defects, and failed to adequately, competently, completely, and
correctly find and determine the nature of the defect, to correct the defect, or to find a solution
that would reduce or minimize the dangerous effect of the defect.

55. Defendants, and each of them, in the design of the system, found that there were
errors and defects in their design of the system or in the implementation of the system. Despite
their knowledge and notice of the defects, and despite their knowledge that they were creating

an enhanced risk of injury to the owners and occupants of the 3-Series vehicles, Defendants

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COMPLAINT FQR lDAMAGES: DEMAND FOR JURY TRIAL

 

 

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decided to and did incorporate this known defective system with known defective component
parts and software into the relevant 3-Series vehicles, did not inform owners of the cars about
the existence of these defects, did not make an impartial disclosure of the defects to the public,
the United States federal govemment,, or any other regulatory body, despite their duty to make
such a full and impartial disclosure.

56. The actions of defendants, as described above, were thus undertaken with a
willful and conscious disregard for the rights and safety of consumers and users of defendants'
vehicles, including the SUBJECT VEHICLE, in order to advance the pecuniary gains of the
defendants and each of them, and were despicable because such aforesaid conduct would and
does injure and kill people, including but not limited to Plaintiff, during the course of the
SUBJECT INCIDENT.

57. Plaintiff further alleges that the conduct of the defendants was undertaken With
the result that the SUBJECT VEHICLE's ultimate unrepaired and un-acknowledged defects in
its design and production were fully intended by the defendants to reside therein. Plaintiff is
inforrnedand believes that the decisions made by the defendants and each of them to design and
manufacture the SUBJECT VEHICLE with its defective side airbag restraint system components
and installation, all in the defective and dangerous manner as alleged herein, were made by
corporate management of the defendants and each of them, by the product of corporate policy,
in that such major and strategic design and manufacturing decisions, by virtue of the corporate
structure of the defendants and each of them, could be made only at the level of corporate
management, as the product of corporate policy, given the substantial capitalization requirements

and risks associated with such high level design and manufacturing decisions, across an entire

the entire corporate management and corporate policy of the defendants with respect to the
conscious, willful and disregard of public safety for defendants' pecuniary gain regarding the
design, manufacture, production, marketing and sale of the SUBJECT VEHICLE.

58. As a result of this conduct, Defendants, and each of them, created a product which

unreasonably and dangerously increased the risk of injury, such that they made the risk of injury

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vehicle platform line for the SUBJECT VEHICLE, such that they were and are the product of `

 

 

COMPLAINT FOR lDAMAGES: DEMAND li"OR JURY TRIAL

 

 

 

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to users of the SUBJECT VEHICLE, and others, as probable. As a result, this conduct meets the
definition of “despicable conduct” which exposes Defendants, and each of them, to punishment
through the imposition of punitive damages l

59. As a direct and proximate result of the aforementioned conduct of defendants, an
award of exemplary and punitive damages against Defendants, and each of them is proper and
appropriate to punish said defendants and to deter such conduct in the future.

WHEREFORE, Plaintiff prays judgment against defendants and each of them, as

follows:
1. For special and economic darnages, including medical expenses and loss of past
and future earnings and earning capacity, according to proof at trial;
2. For general damages, including damages for emotional distress and suffering;
3. For prejudgment interest, as determined by and accrued according to applicable
statutes;
4. F or exemplary and punitive damages in an amount sufficient to punish and make

an example of the Defendants;
5. F or costs of suit incurred; and

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COMPLAINT FOR lDAMAGES: DEMAND FOR JURY TRIAL

 

 

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6. For any other and further relief the Court deems just and proper,

DATED; october \‘ ,2016 BISNAR|CYE/
By: / / -*
BRlAl\I D , Esq.
H. GAv L G,Esq.
Attorneys or laintiff
DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury.
DATED; october \\, 2016 BIsN R'| s

By:
BRI N H SE, Esq.
H. G, Esq.
Atto e laintiff

 

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COMPLAINT FOR lDAMAGES: DEMAND FOR JURY TRIAL

 

 

Case 2:17-cv-01471-CAS-AS Document 1-1 Filed 02/22/17 Page 18 of 23 Page |D #:27

 

CM-_0_1_Q
ATTORNEY OR PARTY W|THOUT ATTORNEY (Name, S!O,ar number, and address): FOR COURT USE ONLY
_Brian D . Chase, Esq. (SBN 164109)
H . Gavin Long, Esq. (SBN 204034)
BISNAR| CHASE _ FgLrtE()R;alitOmla
suite 120 su or&<r>`;v §“Los Ange\ee

Newport Beach, CA 92660
TELEPHoNENo_: 949/752-2999
ArroRNEYFoR(NB): ROSemberq Pavon

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srREETAooREss; l 1 1 NOrth Hl ll St .
MAlLlNG ADDRESS;

949/752-2777

FAX NO.:

oct 13 2016

 

 

1301 Dove St.,

 

 

 

 

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g;%gl:`%ted g;'r'r‘];:%;d is Flled with first appearance by defendant JUDGE¢
exceeds $25,000) $25,000 or |ess) (Ca'- Ru|es °f Court rule 3'402) DEPT1

 

 

/tems 1-6 below must be completed (see instmctions on page 2).
1. Check one box below for the case type that best describes this case:
Auto Tort Contract
' Auto (22) ; . 7 Breach of contract/warranty (06)
v Uninsured motorist (46) § Ruie 3.740 collections (09)
Other PllPD/WD (Persona| lnjurylProperty Other collections (09)
DamagelWrongful Death) Tort |nsurance covera e (18)
. 9
ASbeStOS (04) . Other contract (37)
l x v Product liability (24) Real Property
Medical malpractice (45) f Eminent domain/inverse
4 Other P|/PD/WD (23) condemnation (14)
Non-Pl/Po/wo rother) ron , W'°"qu' e"l°“°" (33)
Business tort/unfair business practice (07) Other real pr°pe'ty (26)
1 civil rights (oe) unlawful oelainer
Defamation (13) ' Commercia| (31)
Fraud (16) _ Residential (32)

 

Provisional|y Complex Civil Litigation
(Ca|. Ru|es of Court, rules 3.400-3.403)

Antitrusthrade regulation (03)
Construction defect (10)
Mass tort (40)

Securities litigation (28)
Environmental/Toxic tort (30)

insurance coverage claims arising from the
above listed provisionally complex case

types (41)
Enforcement of Judgment
Enforcement ofjudgment (20)
Miscel|aneous Civil Complaint
R|CO (27)

_ intellectual property (19) Drugs (38) Other complaint (not specified above) (42)
Professional negligence (25) Judicial Review Miscel|aneous Civil Petition
b Other non-Pl/PDNVD tort (35) j Asset forfeiture (05) Partnership and corporate governance (21)

Employment ,
Wrongfu| termination (36) l '
Other employment (15) ' Otherjudicial review (39)

. This case x is is not complex under rule 3.400 of the Califomia Ru|es of Court. lfthe case is complex, mark the
factors requiring exceptional judicial management

v Petition re: arbitration award (11)
Writ of mandate (02)

Other petition (not specified above) (43)

 

 

 

  

a. x Large number of separately represented parties d. ' ij Large number of witnesses

b. l Extensive motion practice raising difhcu|t or novel e. 4 ' Coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, st es, r countries, or in a federal court

c. : Substantial amount of documentary evidence f. l 7 ? Substantial posjud m tju icia| supervision

   
 
 
  

 

 

3. Remedies sought (check all that app/y): a. j x monetary b. _' nonmonetary; punitive
g 4. Number of causes of action (specify): Three
§ 5. This case is x j is not a class action suit.
6. lf_there are any known related cases, nle and serve a notice of related case. ( o
oelei§;’occeber ll , 201 6
l H. ,Gavin Lono, Esol. ,
W (TYPE oR PRlNr NAME) V [sl;lvlu(lae ol= PAW oR ATToRNEv FoR PARTY)
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NOT|CE
Fi`"l'a)intiff must me this cover sheet with the first paper filed in the action or proceeding (except all claims cases or cases filed
under the Probate Code, Famlly Code, or Welfare and institutions Code). (Ca|. Ru|es of Courtl rule 3.220;) Failure to nle may result
inTsanctions.

Fi|e this cover sheet in addition to any cover sheet required by local court ru|e.

lf this case is complex under rule 3.400 et seq. of the California Ru|es of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding

Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
Page1 of 2

 

 

Form Adopted for Mandatory Use
Judicia| Council of Califomia
CM-OiO [Rev. July 1, 2007}

 

C|VlL CASE COVER SHEET ` _al
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Cal. Rules of Court, rules 2,30, 3.220, 3.400-3.403. 3.740;
Cal. Standards ofJudicia| Administrationl std, 3.10

Case 2:17-cv-01471-CAS-AS Document 1-1 Filed 02/22/17 Page 19 of 23 Page |D #:28 l

leTRucrloNs oN How To coMPLETE THE covER sl-lEEr CM'°i°
l To Plaintiffs and Others Filing First Papers. lf you are filing a first paper (for example, a complaint) in a civil case, you must
§ complete and file, along with your first paper. the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases bled. You must complete items 1 through 6 on the sheet. in item 1, you must check
one box for the case type that best describes the case. if the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. if the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided beiow. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper fled in a civil case may subject a party, its
counsei, or both to sanctions under rules 2.30 and 3.220 of the Califomia Rules of Court.
To Parties in Ruie 3.740 Co|lections Cases. A "collections case" under rule 3.740 is denned as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's feesl arising from a transaction in which
property, services, or money was acquired on credit A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real propertyl (4) recovery of personal property, or (5) a prejudgment writ of attachment
The identification of a case as a rule 3.740 collections case on this form means that il will be exempt from the general time-for-service
requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject
to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. ln complex cases on|y, parties must also use the Civil Case Cover Sheet to designate whether the
l case is complex. |f a plaintiff believes the case is complex under rule 3.400 of the Califomia Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. if a plaintiff designates a case as complexl the cover sheet must be served with the
i complaint on ali parties to the action. A defendant may tile and serve no later than the time of its first appearance a joinder in the
' plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that

 

 

the case is complex,

Auto Tort
Auto (22)_Personai injury/Property
Damage/Wrongful Death
Uninsured Motorist (46) (lf the
case involves an uninsured
motorist claim subject to
arbitration check this item
instead of Auto)
Other PllPDlWD (Persona| |njuryl
Property DamageNVrongful Death)
Tort
Asbestos (04)
Asbestos Property Damage
Asbestos Persona| lnjury/
Wrongful Death
Product Liability (not asbestos or
toxic/environmental) (24)

Medicai Malpractice (45)

Medicai Malpractice-
Physicians & Surgeons
Other Professiona| Hea|th Care

Malpractice

Other Pl/PD/WD (23)

Premises Liability (e.g., slip
and fall)

intentional Bodi|y lnjury/PDNVD
(e.g., assau|t, vandalism)

intentional infliction of
Emotional Distress

Negligent infliction of
Emotional Distress

Other Pi/PD/WD

Non-Pl/PD/WD (Other) Tort
Business Tort/Unfair Business

Practice (07)

Civil Rights (e.g., discrimination,
,_._.false arrest) (not civil
@harassment) (08)

Defamation (e.g., slander, libel)
§ils)

Fra,ud (16)

intellectual Property (19)

Pf§fessional Negligence (25)
""*Legal Malpractice

Other Professional Malpractice
(not medical or /ega/)
Other Non-Pi/PD/WD Tort (35)
Empioyment
Wrongful Termination (36)
Other Empioyment (15)

CASE TYPES AND EXAMPLES

Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful eviction)
Contract/Warranty Breach-Se|ler
Plaintiff (not fraud or negligence)
Negligent Breach of Contract/
Warranty
Other Breach of Contract/Warranty

Co|lections (e.g., money owed, open
book accounts) (09)

Co|lection Case-Selier Plaintiff
Other Promissory Note/Collections
Case

insurance Coverage (not provisionally
complex) (18)

Auto Subrogation
Other Coverage

Other Contract (37)
Contractua| Fraud
Other Contract Dispute

Reai Property

Eminent Domain/inverse
Condemnation (14)

Wrongful Eviction (33)

Other Reai Property (e.g.` quiet title) (26)
Writ of Possession of Reai Property
Mortgage Foreclosure
Quiet Titie
Other Reai Property (not eminent
domain, landlord/tenantl or
foreclosure)

Un|awfu| Detainer

Commercial (31)

Residential (32)

Drugs (38) (if the case involves illegal
drugs, check this item,' othen/i/ise,
report as Commercial or Residential)

Judicial Review

Asset Forteiture (05)

Petition Re: Arbitration Award (11)

Writ of Mandate (02)
Writ-Administrative Mandamus
Writ-Mandamus on Limited Court

Case Matter
Writ-Other Limited Court Case
Review

Other Judicial Review (39)

Review of Hea|th Ofncer Order
Notice of Appeai-Labor
Commissioner Appeals

Provisionai|y Complex Civil Litigation (Ca|.
Rules of Court Ru|es 3.400-3.403)

Antitrust/Trade Regulation (03)
Construction Defect (10)
Ciaims involving Mass Tort (40)
Securities Litigation (28)
Environmental/Toxlc Tort (30)
insurance Coverage Ciaims
(an'sing from provisionally complex
case type listed above) (41)

Enforcement of Judgment

Enforcement of Judgment (20)

Abstract of Judgment (Out of
County)

Confession of Judgment (non-
domestic relations)

Sister State Judgment

Administrative Agency Award
(not unpaid taxes)

Petition/Certiflcation of Entry of
Judgment on Unpaid Taxes

Other Enforcement of Judgment
Case

Miscel|aneous Civil Complaint

RlCO (27)
Other Complaint (not specified
above) (42)
Deciaratory Relief Only
injunctive Relief Only (non-
harassment)
Mechanics Lien
Other Commercial Complaint
Case (non-tort/non-complex)
Other Civil Complaint
(non-tort/non-complex)

Miscel|aneous Civil Petition

Partnership and Corporate
Governance (21)
Other Petition (not specified
1 above) (43) ..
Civil Harassment
Workpiace Violence
Elder/Dependent Adu|t
Abuse
Eiection Contest
Petition for Narrie Change
Petition.for Relief from Late
C|aim
Other Civil Petition

 

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Page 2 of 2

 

 

 

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C|V|L CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCAT|ON
_ (CERT|F|CATE OF GROUNDS FOR ASS|GNMENT TO COURTHOUSE LOCAT|ON)

 

This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court,

 

 

 

Sfep 412 After completing the Civil Case Cover Sheet (Judiciai Council form Ci\li-DiO)l find the exact case type in
Co|umn A that corresponds to the case type indicated in the Civil Case Cover Sheet.

Step 2: in Co|umn B, check the box for the type of action that best describes the nature of the case.

Step 3: in Co|umn Cl circle the number which explains the reason for the court filing location you have
chosen ~ l

 

 

 

Applicable Reasons for Choosing Court Filing Location (Co|umn C)

 

. Class actions must be filed in the Stan|ey Mosk Couithouse, Centra| District. 7.' Location where petitioner resides.

. Permissive filing in central district 8. Location wherein defendant/respondent functions wholly.
. Location where cause of action arose. 9. Location where one or more of the parties reside.
. Mandato`ry personal injuryflling in North District. 10. Location of Labor Commissioner Offioe.

11'. Mandatory filing location (Hub Cases - unlawful detainer, limited
non-collection, limited collection, or personal injury).

. Location where performance required or defendant resides

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. Location of property or perm/anent|y garaged vehicle.

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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i- Auto (22) iii A7100 Motor Vehicie - Personal injury/Property Damage/Wrongful Death 1, 4, 11
2 J ‘
32 Uninsured Motorist (46) i::i A7110 Personal injury/Property DamageNVrongful Death - Uninsured Motorist 1l 4, 11
A6070 Asbestos Property Damage y 1, 11
Asbestos (04) ` / ' j
§ t' ‘ A7221 Asbestos - Personal injury/Wrongful Death 1, 11
m o
Q_ I-
§ § Product Liability (24) l:_>_<:i A7260 Product Liability (not asbestos or toxic/environmental) 1, 4, 11
\ 0
E‘ cl .
_;_ 5 i:] A7210 Medicai Malpractice _,Pnysioiane & surgeons 1, 4, 11
5 "51 MedicalMalpractice(45) ~- j j ‘
-5 § ‘ i:__i A7240 Other Professional Hea|th Care Malpractice 1, 4, 11
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° § ~ . _ ,
§ 3 ` b [:___l A7250 Premises'Liability (e.g., slip and fall) , 1 4 11 \
cL g OtherPersona| ._1 ' _ ' ’ ’
3 :E injury propeny i:___j A7230 intentional Bodily injury/Property Damage/Wrongful Death (e.g., 1141 11
§ §§ Damage Wrongful ~ assault, vandalism, etc.) _
w Death (23) ' i:_i A7270 intentional infliction ofi_£morionaioisiress 1'4' 11
i\.:" ____I A7220 Other Personal injury/Property DamageNVrongful Death 1- 4' 11
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l_Aclv 109 (Rev 2/16) vClV|L CASE COVER SHEET ADDENDUM Locai Rule 2.3

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LASC Appro_ved 03-04 ‘ . AND STATEMENT OF LOCAT|ON Page 1 014

 

 

 

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type of action that you have selected Enter the address which is the basis for the filing locationl including zip code.
(No address required for class action cases). `

 

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' Step 4: Statement of Reason and Address Check the appropriate boxes for the numbers shown under Co|umn C for the
} ADDREss; Anaheim Street

REASON:

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C|TY: STATE: Z|P CODE:
Wilminqton CA 90744
Step 5: Certification of Assignment: l certify that this case is properly filed in the Central District of

 

the Superior Court of California, County of Los Angeles [Code Civ. Proc., §3927eq , and Local Rule 2.3(a)(1)(E)].
Dated; lokgol lb / ///\
, (slGNA u F EY/MG PARTY)
H . ong, Esq .
PLEASE HAVE THE FOLLOWlNG |TEMS COMPLETED AND READY TO BE FlLED |N ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:
1. Original Complaint or Petition.

|f filing a Complaintl a completed Summons form for issuance by the Clerk.

2
3. Civil Case Cover Sheet, Judicial Council form CM-010.
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Civil Case Cover Sheet Addendum and Statement of Location form, LAClV 109l LASC Approved 03-04 (Rev.
02/16).

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Payment in full ofthe filing fee, unless there is court orderforwaiverl partial or scheduled payments

A signed order appointing the Guardian ad Liteml Judicial Council form C|V-OlO, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summonsl

7. Additional copies of documents to be conformed by the C|erk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.

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